      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 1 of 79



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    ALANA CAIN, ET AL.                                        CIVIL ACTION

    VERSUS                                                      NO. 15-4479

    CITY OF NEW ORLEANS, ET AL.                            SECTION “R” (2)


                             ORDER AND REASONS


        Plaintiffs Alana Cain, Ashton Brown, Reynaud Variste, Reynajia

Variste, Thaddeus Long, and Vanessa Maxwell filed this civil rights putative

class action under 42 U.S.C. § 1983, challenging the manner in which the

Orleans Parish Criminal District Court collects post-judgment court debts

from indigent criminal defendants. Before the Court are the parties’ cross-

motions for partial summary judgment.1             These motions turn on

justiciability, the constitutionality of defendants’ debt collection practices,

and the constitutionality of the legislative framework that vests both judicial

and executive power in the judges of the Orleans Parish Criminal District

Court. For the following reasons, the Court grants in part and denies in part

each motion.




1       R. Docs. 250, 251.
                                       1
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 2 of 79



I.    BACKGROUND

      Plaintiffs are former criminal defendants in the Orleans Parish

Criminal District Court (OPCDC). Each named plaintiff pleaded guilty to

various criminal offenses between 2011 and 2014. 2 All named plaintiffs,

except Reynaud Variste, were appointed counsel. 3 The Court previously

dismissed Reynaud Variste’s and Long’s claims for equitable relief.4 Thus,

only Cain, Brown, Reynajia Variste, and Maxwell have live claims for

equitable relief.

      The remaining defendants are OPCDC Judges Laurie A. White, Tracey

Flemings-Davillier, Benedict Willard, Keva Landrum-Johnson, Robin

Pittman, Byron C. Williams, Camille Buras, Karen K. Herman, Darryl

Derbigny, Arthur Hunter, Franz Zibilich, and Magistrate Judge Harry

Cantrell (collectively, the Judges); OPCDC Judicial Administrator Robert

Kazik; and Orleans Parish Sheriff Marlin Gusman.

      A.    Fines and Fees Imposed by OPCDC

      The Judges impose various costs on convicted criminal defendants at

their sentencing. First, the Judges may impose a fine, which is divided evenly

between OPCDC and the District Attorney (DA).                La. Rev. Stat.


2     R. Doc. 248 at 4-5.
3     R. Doc. 59-3 at 2, 6, 9, 18, 23; R. Doc. 95-7 at 1.
4     See R. Doc. 109 at 19-21.
                                        2
    Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 3 of 79



§ 15:571.11(D). Second, the Judges may order a criminal defendant to pay

restitution to victims. La. Code Crim. Proc. art. 883.2. Third, the Judges

impose various fees that go to OPCDC:

         • A mandatory $5 fee, La. Rev. Stat. § 13:1381.4(A)(1);

         • Additional fees up to $500 on a misdemeanant and $2,500 on a

             felon, id. § 13:1381.4(A)(2);

         • Court costs up to $100, id. § 13:1377(A);

         • A fee of $14 for the Indigent Transcript Fund, id. § 13:1381.1(B),

             which “compensate[s] court reporters for the preparation of all

             transcripts for indigent defendants,” id. § 13:1381.1(A); and

         • Additional costs under Louisiana Code of Criminal Procedure

             Article 887(A) for the Indigent Transcript Fund. 5

Fourth, the “court costs” imposed by Judges also include fees that go to other

entities, such as the Orleans Public Defender, the DA, and the Louisiana

Supreme Court. 6 After sentencing, OPCDC may further assess criminal

defendants for the costs of drug treatment and drug testing. La. Rev. Stat.

§ 13:5304.


5     For example, both Alana Cain and Ashton Brown were assessed $100
for the Indigent Transcript Fund as a condition of their probation. R. Doc.
248 at 4.
6     See R. Doc. 248-1 at 5 (breakdown of court costs that go to OPCDC and
other entities).
                                     3
    Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 4 of 79



      Separately, the Sheriff collects a 3% fee on bail bonds secured by

commercial sureties. Id. § 22:822(A)(2). Sixty percent of this fee, or 1.8% of

the bonds, goes to OPCDC. Id. §§ 22:822(B)(3), 13:1381.5(B)(2)(a).

      As a result of their criminal convictions, the named plaintiffs were

assessed fines and fees ranging from $148 (imposed on Long) to $901.50

(imposed on Cain).7 Cain pleaded guilty to felony theft on May 30, 2013. 8 At

sentencing, the court stated that payment of fines and fees was a special

condition of probation. 9 The court directed Cain to make the first $100

payment at the courthouse on July 8, 2013, and stated, “[e]ven if you don’t

have the money, you have to come here to the courtroom . . . for an

extension.”10 The court later ordered Cain to pay $1,800 in restitution. 11

      Brown received a 90-day suspended sentence after pleading guilty to

misdemeanor theft on December 16, 2013.12 The court imposed $500 in fees:

$146 for the Judicial Expense Fund, $100 for the Indigent Transcript Fund,

$234 in court costs, and a $20 special assessment for the DA. 13 As with Cain,




7    R. Doc. 248 at 4-5.
8    R. Doc. 255-3 at 2, 16.
9    Id. at 13.
10   Id. at 19.
11   R. Doc. 59-3 at 2.
12   R. Doc. 255-4 at 2, 4, 11.
13   Id. at 11, 15. Again, “court costs” include fees that go to other entities
besides OPCDC. See R. Doc. 248-1 at 5.
                                      4
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 5 of 79



the court instructed Brown to make his first $100 payment at the courthouse

on January 13, 2014. 14 The judge told Brown that if he could not pay on that

date, he should go to the judge’s courtroom and request an extension. 15

      Reynajia Variste was sentenced to two years of probation after she

pleaded guilty to aggravated battery on October 21, 2014. 16 Variste was

assessed fees in the amount of $886.50: $286.50 in court costs, $200 for the

Indigent Transcript Fund, and $400 for the Judicial Expense Fund.17 The

judge warned Variste that “[f]ailure to make those payments will result in

contempt of Court proceedings.” 18

      Vanessa Maxwell was sentenced to eighteen months imprisonment for

battery and six months for simple criminal damage after pleading guilty on

March 6, 2012.19 Maxwell was assessed $191.50 in court costs, although the

judge did not specify this amount at sentencing. 20




14    R. Doc. 255-4 at 15.
15    Id. at 16.
16    R. Doc. 95-6 at 8-9, 13.
17    Id. at 13.
18    Id.
19    R. Doc. 95-8 at 8, 12, 15.
20    Id. at 1, 15; R. Doc. 248 at 5.
                                        5
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 6 of 79



      B.    The OPCDC Budget

      The Judges manage the budget of OPCDC. 21 From 2012 through 2015,

the court’s revenue ranged from $7,567,857 (in 2012) to $11,232,470 (in

2013). 22 Some of this revenue could be used only for specified purposes and

went into a restricted fund; unrestricted revenue went into OPCDC’s Judicial

Expense Fund, which is the general operating fund for court operations.23

See La. Rev. Stat. § 13:1381.4. The Judges exclusively control this fund and

may use it “for any purpose connected with, incidental to, or related to the

proper administration or function of the court or the office of the judges

thereof.” Id. § 13:1381.4(C). They may not use it to supplement their own

salaries. Id. § 13:1381.4(D). Most money for salaries and benefits of OPCDC

employees (apart from the Judges) comes from the Judicial Expense Fund. 24

      From 2012 through 2015, the Judicial Expense Fund’s annual revenue

was approximately $4,000,000. 25 Roughly half of this revenue came from

other governmental entities, especially the City of New Orleans.26 About


21   R. Doc. 251-2 at 3; R. Doc. 255-5 at 5.
22   R. Doc. 248 at 2.
23   Id.; R. Doc. 251-2 at 3. The Judicial Expense Fund is also known as the
General Fund. R. Doc. 248 at 2.
24   R. Doc. 251-2 at 5; R. Doc. 255-5 at 9.
25   R. Doc. 248-1 at 1-4. Specifically, the Judicial Expense Fund had
$4,090,707 in revenue in 2012; $4,100,413 in 2013; $3,928,025 in 2014; and
$3,940,535 in 2015.
26   Id. at 1-3.
                                      6
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 7 of 79



$1,000,000 came from bail bond fees, and another $1,000,000 from fines

and other fees.27 Since at least 2013, all fines and fees revenue has gone to

the Judicial Expense Fund.28

      C.    OPCDC’s Debt Collection Practices

      All named plaintiffs were subject to OPCDC’s debt collection practices.

At least until September 18, 2015, the Judges delegated authority to collect

court debts to the Collections Department, which the Judges and

Administrator Kazik jointly instructed and supervised.29 The Collections

Department created payment plans for criminal defendants, accepted

payments, and granted extensions.30 Some Judges also delegated authority

to the Collections Department to issue alias capias warrants against criminal

defendants who failed to pay court debts. 31

      Before the Collections Department issued these alias capias warrants,

its agents were trained to send two form letters to criminal defendants who

had missed payments.32 The first letter stated: “Recently, at your sentencing

in court, you were given probation. At such time the Judge instructed you,




27    R. Doc. 248 at 2.
28    R. Doc. 251-2 at 12.
29    R. Doc. 248 at 7.
30    Id.
31    Id.
32    R. Doc. 251-2 at 20; R. Doc. 255-5 at 27; R. Doc. 1-2 at 6.
                                      7
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 8 of 79



that as a condition of probation you were to report to our office and make

arrangements to pay your fines that are now delinquent.” The letter also

directed its recipient to appear at the court “to resolve this matter” by a given

date. “Failure to comply with the conditions of probation,” the letter warned,

“will result in your immediate arrest.”33 The second letter stated: “Unless

arrangements are made with [the collections agent] or payment is received

in full within 72 hours[,] . . . we will request your immediate arrest.” 34

      The Collections Department then checked court dockets to determine

whether the court had granted an extension on or accepted a payment toward

an individual’s court debts.35 The Collections Department also checked

probation and local jail records.36 If these checks revealed no reason for an

individual’s failure to pay, the Collections Department issued an alias capias

warrant for the individual’s arrest. 37

      These alias capias warrants stated that the individual named in the

warrant was charged with contempt of court.38 The warrants usually set

surety bail at the predetermined amount of $20,000.39 Although the Judges


33    R. Doc. 251-5 at 328.
34    Id. at 329.
35    R. Doc. 248 at 7.
36    Id.
37    Id.; R. Doc. 251-5 at 330 (example of a blank alias capias warrant).
38    R. Doc. 251-5 at 330.
39    Id.; R. Doc. 248 at 7.
                                     8
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 9 of 79



did not review these warrants, the Collections Department affixed a judge’s

signature to each one. 40    OPCDC’s Collections Department issued such

warrants to arrest the named plaintiffs for failure to pay fines and fees. 41

      Individuals arrested pursuant to these warrants ordinarily remained in

jail until their family or friends could make a payment on their court debt, or

until a judge released them.42 The named plaintiffs were imprisoned for

periods ranging from six days to two weeks. 43

      Alana Cain was arrested pursuant to an alias capias warrant on March

11, 2015.44 Apparently unable either to make a payment or to post the

$20,000 bond, she spent a week in jail before she obtained a court hearing

on March 18. 45 At that hearing, the judge asked Cain when she would be able

to continue making payments. 46 Cain explained that she had missed a

payment after giving birth a few weeks earlier, but could continue making

payments upon her release.47 The judge ordered her release and directed her




40  R. Doc. 251-2 at 21; R. Doc. 255-5 at 28; R. Doc. 1-2 at 8.
41  R. Doc. 248 at 4.
42  R. Doc. 251-2 at 22; R. Doc. 255-5 at 25; R. Doc. 1-2 at 12-13.
43  R. Doc. 251-2 at 23; R. Doc. 255-5 at 25.
44  R. Doc. 251-5 at 369; see also R. Doc. 59-3 at 2 (warrant issued on
March 4, 2015).
45  R. Doc. 251-2 at 23; R. Doc. 255-5 at 25.
46  R. Doc. 95-3 at 30.
47  Id. at 29-31.
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     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 10 of 79



to return to court for a status update two weeks later.48 OPCDC suspended

Cain’s court debts on April 7, 2016, 49 although Cain made further payments

toward her court debts after that date.50

       Ashton Brown spent two weeks in jail before his family secured his

release by making a $100 payment to OPCDC. 51 An alias capias warrant

issued on July 16, 2015, and Brown was arrested on July 23. 52 Brown

appeared in court without counsel on August 6; the court agreed to release

Brown upon payment of $100 to OPCDC.53 Brown’s family made this

payment the next day, and Brown was released.54          OPCDC suspended

Brown’s court debts on September 23, 2016, 55 although Brown, like Cain,

made further payments after that date.56

       Reynajia Variste was arrested pursuant to an alias capias warrant on

May 28, 2015.57 On June 2, a family member paid $400 to OPCDC in order




48   Id. at 32.
49   R. Doc. 250-3 at 22
50   See R. Doc. 230-3 at 1-2 (payment receipts dated August 26, 2016, and
October 12, 2016).
51   R. Doc. 251-2 at 23; R. Doc. 255-5 at 25.
52   R. Doc. 59-3 at 6.
53   Id.
54   Id.
55   R. Doc. 250-3 at 23.
56   R. Doc. 230-3 at 3 (payment receipt dated February 10, 2017).
57   R. Doc. 95-6 at 1.
                                    10
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 11 of 79



to secure her release.58 Although Variste did not appear before a judge on

that date, her attorney did.59 OPCDC waived Variste’s outstanding debt on

August 31, 2016. 60

       Vanessa Maxwell was arrested on May 10, 2015, on an alias capias

warrant.61 On May 12, she filed a grievance with the Orleans Parish Sheriff’s

Office seeking a new date to make a payment.62 The office responded that

she did not yet have a court date, and that to secure her release she just

needed to “get someone to go to fines and fees to make arrangements.” 63

Maxwell filed another grievance two days later, asking the Sheriff’s Office to

place her on the court’s docket; the office again directed Maxwell to “get a

family [member] to go over and make arrangements with fines n fees [sic].

Explain you have been incarcerated[;] they will make some type of

arrangements for payments.”64 Maxwell finally appeared before a judge,




58     Id. at 1-2, 22.
59     Id. at 1.
60     R. Doc. 250-3 at 25.
61     R. Doc. 251-5 at 370.
62     Id. at 362.
63     Id.
64     Id.
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     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 12 of 79



with counsel, on May 22, 2015. 65 The judge ordered her release without

payment.66 Maxwell paid off her court debt on June 2, 2016. 67

       After this suit was filed, the Judges revoked the Collections

Department’s authority to issue warrants.68 The Judges also recalled all

active fines and fees warrants issued by the Collections Department before

September 18, 2015, unless restitution remained unpaid or the individual

had failed to appear in court. 69 In doing so, the Judges wrote off $1,000,000

in court debts. 70 Each Judge now “handles collection-related matters on

their respective dockets.”71

       Nevertheless, at least some active warrants for failure to pay restitution

still exist. 72 And the Judges themselves now issue alias capias warrants for

failure to pay fines and fees. 73 There is no evidence that the Judges now

consider, or have ever considered, ability to pay before imprisoning indigent

criminal defendants for failure to pay fines and fees. Indeed, the Judges do

not routinely solicit financial information from criminal defendants who fail


65     R. Doc. 95-8 at 2.
66     Id.
67     R. Doc. 250-3 at 24.
68     R. Doc. 250-2 at 13, 76; R. Doc. 250-3 at 3.
69     R. Doc. 250-3 at 4.
70     Id.
71     Id. at 5.
72     Id.
73     See, e.g., R. Doc. 250-3 at 16, 21.
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     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 13 of 79



to pay court debts,74 though they state that they do consider ability to pay

when the issue is brought to their attention. 75

       D.    Procedural History

       Plaintiffs filed this civil rights action under 42 U.S.C. § 1983, alleging

violations of their Fourth and Fourteenth Amendment rights, and violations

of Louisiana tort law. Plaintiffs brought this action on behalf of themselves

and all others similarly situated.76 The first amended complaint, filed shortly

after the initial complaint, named the following defendants: (1) The City of

New Orleans, (2) OPCDC, (3) Sheriff Gusman, (4) Clerk of Court Arthur

Morrell, (5) Judicial Administrator Kazik, and (6) the Judges. The Court has

summarized plaintiffs’ seven counts as follows:

       (1)   Defendants’ policy of issuing and executing arrest warrants for

             nonpayment of court debts is unconstitutional under the Fourth

             Amendment and the Due Process Clause of the Fourteenth

             Amendment;




74    R. Doc. 251-2 at 17.
75    R. Doc. 250-2 at 12; R. Doc. 259-1 at 8.
76    Although plaintiffs moved for class certification on February 10, 2017,
see R. Doc. 230, the Court stayed all motion practice—and thus denied
plaintiffs’ class certification motion without prejudice—pending further
order, see R. Doc. 237.
                                     13
Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 14 of 79



  (2)   Defendants’ policy of requiring a $20,000 “fixed secured money

        bond” for each Collections Department warrant (issued for

        nonpayment of court debts) is unconstitutional under the Due

        Process Clause and the Equal Protection Clause of the

        Fourteenth Amendment;

  (3)   Defendants’ policy of indefinitely jailing indigent debtors for

        nonpayment of court debts without a judicial hearing is

        unconstitutional under the Due Process Clause of the Fourteenth

        Amendment;

  (4)   Defendants’ “scheme of money bonds” to fund certain judicial

        actors is unconstitutional under the Due Process Clause of the

        Fourteenth Amendment. To the extent defendants argue this

        scheme is in compliance with Louisiana Revised Statutes

        §§ 13:1381.5 and 22:822, governing the percentage of each surety

        bond   that   judicial   actors   receive,   those   statutes   are

        unconstitutional;

  (5)   Defendants’ policy of jailing indigent debtors for nonpayment of

        court debts without any inquiry into their ability to pay is

        unconstitutional under the Due Process Clause and the Equal

        Protection Clause of the Fourteenth Amendment, and the


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     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 15 of 79



             Judges’ authority over both fines and fees revenue and ability-to-

             pay determinations violates the Due Process Clause;

       (6)   Defendants’ policy of jailing and threatening to imprison

             criminal defendants for nonpayment of court debts is

             unconstitutional under the Equal Protection Clause of the

             Fourteenth Amendment because it imposes unduly harsh and

             punitive restrictions on debtors whose creditor is the State, as

             compared to debtors who owe money to private creditors;

       (7)   Defendants’ conduct constitutes wrongful arrest and wrongful

             imprisonment under Louisiana law.

       Plaintiffs’ request for relief seeks: (1) declaratory judgments that

defendants’ actions violate plaintiffs’ Fourth and Fourteenth Amendment

rights; (2) an order enjoining defendants from enforcing the purportedly

unconstitutional policies; (3) money damages for the named plaintiffs; and

(4) attorney’s fees under 42 U.S.C. § 1988.

       After a round of motions, all claims against the City of New Orleans,

the Sheriff, and OPCDC were dismissed, along with Count Three and claims

against the remaining defendants for monetary and injunctive relief. 77 The

Court then granted plaintiffs’ leave to re-plead Counts Four and Seven


77     R. Docs. 119, 123-26.
                                      15
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 16 of 79



against the Sheriff in plaintiffs’ second amended complaint. 78 The Court also

consolidated this case with LaFrance v. City of New Orleans, 16-14439. 79

        Now, plaintiffs seek declaratory relief against the Judges in their

official capacity on Counts One, Two, Four, Five, and Six; declaratory relief

against Administrator Kazik in his individual capacity on Counts One, Two,

and Six; injunctive and declaratory relief against Sheriff Gusman in his

official capacity on Count Four; and injunctive and declaratory relief as well

as damages against the Sheriff on Count Seven.

        As ordered by the Court, the parties have submitted cross-motions for

summary judgment on Counts One, Two, Four, Five, and Six. 80



II.     STANDARD OF REVIEW

        Summary judgment is warranted when “the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23 (1986); Little v. Liquid Air Corp., 37 F.3d 1069,




78   R. Doc. 228.
79   R. Doc. 249.
80   R. Doc. 237. The Court has stayed all other motion practice. In
contravention of the Court’s order, plaintiffs have moved for summary
judgment on Count Seven. Plaintiffs’ summary judgment motion is DENIED
WITHOUT PREJUDICE to the extent it seeks relief on Count Seven.
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   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 17 of 79



1075 (5th Cir. 1994). When assessing whether a dispute as to any material

fact exists, the Court considers “all of the evidence in the record but refrain[s]

from making credibility determinations or weighing the evidence.” Delta &

Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398-99

(5th Cir. 2008).     All reasonable inferences are drawn in favor of the

nonmoving party, but “unsupported allegations or affidavits setting forth

‘ultimate or conclusory facts and conclusions of law’ are insufficient to either

support or defeat a motion for summary judgment.” Galindo v. Precision

Am. Corp., 754 F.2d 1212, 1216 (5th Cir. 1985); see also Little, 37 F.3d at

1075. “No genuine dispute of fact exists if the record taken as a whole could

not lead a rational trier of fact to find for the non-moving party.” EEOC v.

Simbaki, Ltd., 767 F.3d 475, 481 (5th Cir. 2014).

      If the dispositive issue is one on which the moving party will bear the

burden of proof at trial, the moving party “must come forward with evidence

which would entitle it to a directed verdict if the evidence went

uncontroverted at trial.” Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257,

1264-65 (5th Cir. 1991). The nonmoving party can then defeat the motion by

either countering with evidence sufficient to demonstrate the existence of a

genuine dispute of material fact, or “showing that the moving party’s




                                       17
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 18 of 79



evidence is so sheer that it may not persuade the reasonable fact-finder to

return a verdict in favor of the moving party.” Id. at 1265.

      If the dispositive issue is one on which the nonmoving party will bear

the burden of proof at trial, the moving party may satisfy its burden by

merely pointing out that the evidence in the record is insufficient with

respect to an essential element of the nonmoving party’s claim. See Celotex,

477 U.S. at 325. The burden then shifts to the nonmoving party, who must,

by submitting or referring to evidence, set out specific facts showing that a

genuine issue exists. See id. at 324. The nonmovant may not rest upon the

pleadings, but must identify specific facts that establish a genuine issue for

trial. See, e.g., id.; Little, 37 F.3d at 1075 (“Rule 56 mandates the entry of

summary judgment, after adequate time for discovery and upon motion,

against a party who fails to make a showing sufficient to establish the

existence of an element essential to that party’s case, and on which that party

will bear the burden of proof at trial.” (quoting Celotex, 477 U.S. at 322)).



III. DISCUSSION

      A.    Justiciability

      Defendants’    motion    for   summary     judgment      challenges   the

justiciability of this action on several grounds. First, defendants argue that


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   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 19 of 79



the named plaintiffs lack standing. Second, they argue that certain claims

are moot in light of defendants’ voluntary cessation of challenged conduct.

Third, defendants argue that plaintiffs impermissibly seek a writ of

mandamus against state judicial officers. Fourth, defendants argue that the

Court cannot grant declaratory relief in this case. Finally, defendants argue

that the Eleventh Amendment bars official-capacity claims against state

judicial officers.

             1.      Standing and Mootness

      Article III of the U.S. Constitution limits federal jurisdiction to cases or

controversies. U.S. Const. art. III, § 2. To satisfy this case-or-controversy

requirement, a plaintiff must have a personal stake in the suit she

commences. See Davis v. Fed. Election Comm’n, 554 U.S. 724, 732-33

(2008).    This personal stake must exist both at commencement and

throughout the life of the suit. Id. (“To qualify as a case fit for federal-court

adjudication, ‘an actual controversy must be extant at all stages of review,

not merely at the time the complaint is filed.’” (quoting Arizonans for

Official English v. Arizona, 520 U.S. 43, 67 (1997))). If a plaintiff does not

have the requisite personal stake at the commencement of the suit, she lacks

standing. If her once-sufficient personal stake dissipates during the life of

the suit such that Article III is no longer satisfied, her claims become moot.


                                       19
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 20 of 79



See Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.

167, 180, 189 (2000) (first addressing standing at the commencement of suit

and then addressing mootness).

       Defendants confuse these two doctrines—standing and mootness—in

their motion for summary judgment. First, they argue that the named

plaintiffs lack standing because their debts have been “suspended” or

“waived.” 81   Second, defendants argue that their voluntary cessation of

certain debt collection practices moots plaintiffs’ claims challenging those

practices.82 Neither argument applies to plaintiffs’ damages claim under

Louisiana law, in which plaintiffs obviously have a continuing interest.

       The waiver or suspension of plaintiffs’ court debts after the

commencement of this suit relates to mootness, not standing. Plaintiffs have

standing to bring suit as long as they “had the requisite stake in the outcome

when the suit was filed.” Davis, 554 U.S. at 734. Standing to bring suit,

however, has no bearing on whether plaintiffs’ claims became moot during

the life of the suit. See, e.g., County of Riverside v. McLaughlin, 500 U.S.

44, 51 (1991) (distinguishing standing from mootness).          Whether the




81     R. Doc. 250-1 at 4.
82     Id. at 10.
                                     20
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 21 of 79



“suspension” or “waiver” of plaintiffs’ court debts destroyed their interest in

the outcome of this suit is properly addressed as a question of mootness.

            2.    Plaintiffs Had Standing to Bring Suit

      The Court is nonetheless obligated to determine whether the parties

had standing to bring suit. Laidlaw, 528 U.S. at 180. Standing consists of

three elements: (1) the plaintiff must have suffered an injury-in-fact, which

is an invasion of a legally protected interest that is concrete and

particularized as well as actual or imminent; (2) the injury must be fairly

traceable to the challenged conduct of the defendant; and (3) it must be likely

that the plaintiff’s injury will be redressed by a favorable judicial decision.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).         With regard to

“equitable relief for past wrongs, a plaintiff must demonstrate either

continuing harm or a real and immediate threat of repeated injury in the

future.” Soc’y of Separationists, Inc. v. Herman, 959 F.2d 1283, 1285 (5th

Cir. 1992). As the party invoking federal jurisdiction, the plaintiff bears the

burden of establishing each element of standing. Spokeo, Inc. v. Robins, 136

S. Ct. 1540, 1547 (2016).

      In support of their standing argument, defendants note that this Court

dismissed Reynaud Variste’s and Thaddeus Long’s claims for equitable relief

because neither plaintiff owed outstanding courts debts for which they could


                                      21
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 22 of 79



be imprisoned.83 But those plaintiffs lacked standing to seek equitable relief

because they faced no imminent injury when the suit commenced. The

amended complaint itself acknowledged that both plaintiffs had already paid

their court debts, and thus no longer faced an imminent threat of injury from

defendants’ debt collection policies and practices.84

       The Court is satisfied that the other named plaintiffs—Alana Cain,

Ashton Brown, Reynajia Variste, and Vanessa Maxwell—had standing to

bring suit. Defendants do not contest that these plaintiffs owed court debts

when this suit was filed in September 2015. Thus, there is no dispute that

these plaintiffs were subject to defendants’ debt collection policies and

practices when this suit began.

       Plaintiffs demonstrated a concrete and imminent injury arising from

defendants’ policies and practices: the risk of arrest and imprisonment for

failing to pay outstanding court debts. This risk was not hypothetical or

speculative; plaintiffs themselves were arrested and imprisoned for that very

reason shortly before the suit commenced. Compare Roark & Hardee LP v.

City of Austin, 522 F.3d 533, 543 (5th Cir. 2008) (concluding that “because

some Plaintiff bar owners have been charged under the ordinance and all




83     R. Doc. 109 at 20.
84     R. Doc. 7 at 15 ¶ 48, 18 ¶ 67.
                                        22
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 23 of 79



Plaintiff bar owners face the real potential of immediate criminal

prosecution, they have standing to bring their claims”), with Soc’y of

Separationists, 959 F.2d at 1285-86 (holding that the likelihood of plaintiff

juror again being selected for jury service and again assigned to defendant

judge was too slim to permit prospective relief against defendant). Finally,

plaintiffs’ requested relief—a declaration that defendants’ debt collection

policies and practices are unconstitutional—would redress the threat of

injury they faced. The Court now turns to whether plaintiffs’ personal stake

in the litigation, sufficient to support Article III standing at commencement,

dissipated over time.

           3.    Defendants’ Voluntary Cessation Moots Counts
                 One, Two, and Four
     The Court first addresses whether any claims are moot in light of

defendants’ voluntary cessation of certain debt collection practices. As a

general rule, “any set of circumstances that eliminates actual controversy

after the commencement of a lawsuit renders that action moot,” Ctr. for

Individual Freedom v. Carmouche, 449 F.3d 655, 661 (5th Cir. 2006), and

requires that the case be dismissed, Genesis Healthcare Corp. v. Symczyk,

569 U.S. 66, 72 (2013). Although “[i]t is well settled that ‘a defendant’s

voluntary cessation of a challenged practice does not deprive a federal court

of its power to determine the legality of the practice,’” Laidlaw, 528 U.S. at

                                     23
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 24 of 79



189 (quoting City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289

(1982)), this rule is not absolute. “A case might become moot if subsequent

events made it absolutely clear that the allegedly wrongful behavior could

not reasonably be expected to recur.”         Id. (quoting United States v.

Concentrated Phosphate Export Ass’n, 393 U.S. 199, 203 (1968)).

Additionally, “[w]ithout evidence to the contrary, [courts] assume that

formally announced changes to official governmental policy are not mere

litigation posturing.” Sossamon v. Lone Star State of Texas, 560 F.3d 316,

325 (5th Cir. 2009). Nonetheless, a defendant’s burden of showing mootness

by virtue of its voluntary cessation is “formidable.” Laidlaw, 528 U.S. at 190.

       Defendants, through an affidavit by Administrator Kazik, state that

they have taken the following actions in response to this lawsuit: 85

          • Defendants rescinded the Collections Department’s authority to

             issue warrants.86

          • Defendants identified all Collections Department fines and fees

             warrants based solely on failure to pay fines and fees (other than

             restitution) and directed Sheriff Gusman to recall these

             warrants. 87


85     R. Doc. 250-1 at 11.
86     R. Doc. 250-2 at 13, 76; R. Doc. 250-3 at 3.
87     R. Doc. 250-2 at 13-14; R. Doc. 250-3 at 4.
                                      24
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 25 of 79




          • Defendants have “written off” approximately $1,000,000 in fines

             and fees owed to the court. 88

          • Defendants have worked together “to implement new procedures

             to correct complaints about delays in getting arrestees timely to

             court.” 89

       The Collections Department’s practice of issuing fines and fees

warrants forms the basis of Counts One, Two, and Four. Count One asserts

that defendants issue arrest warrants for failure to pay fines and fees without

probable cause, without review by a neutral magistrate, and without oath or

affirmation.90 The allegations in support of Count One relate solely to

warrants issued by the Collections Department. 91 Similarly, Counts Two and

Four relate to the fixed, $20,000 money bail imposed on individuals who are

arrested on Collections Department warrants. 92 Counts Five and Six, by


88    R. Doc. 250-2 at 13-14; R. Doc. 250-3 at 4.
89    R. Doc. 250-1 at 11; R. Doc. 250-3 at 6, 29.
90    R. Doc. 161-4 at 56-57 ¶¶ 185-86; R. Doc. 251-1 at 18-25.
91    See, e.g., R. Doc. 161-4 at 34 ¶ 118 (“Pursuant to Collections
Department policy and practice, if a person fails to make the payments
determined by the Collections Department, Collections Department
employees will seek a warrant for the debtor’s arrest. . . . The ‘warrants’ are
never presented to a judge or neutral magistrate for review, and no judicial
officer is even aware of any particular warrant application or issuance. They
are not supported by oath or affirmation.”).
92    See id. at 27 ¶ 95 (“The OPCDC Defendants impose an automatic
$20,000 secured money bond on anyone illegally arrested and imprisoned
on a Collections Department warrant for non-payment or late payment of
                                      25
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 26 of 79



contrast, do not depend on abandoned Collections Department practices.

Count Five asserts that the Judges fail to consider ability to pay before

imprisoning plaintiffs for failure to pay court debts.93 Count Five further

asserts that the Judges do not provide a neutral tribunal to determine ability

to pay because their financial interest in fines and fees revenue deprives

plaintiffs of due process. 94   Count Six broadly alleges that defendants’

practice of imprisoning criminal defendants for failure to pay fines and fees

is invidious discrimination. 95   Thus, if it is absolutely clear that the

Collections Department’s warrant practices have ceased and cannot

reasonably be expected to recur, then Counts One, Two, and Four, but not

Counts Five and Six, would be moot.

      Defendants insist that the Collections Department “will never again

issue warrants.” 96 The Court does not doubt defendants’ sincerity. But the




court debts.”); id. at 57 ¶ 191 (“The Defendants violate the Plaintiffs’ rights
by placing and keeping them in jail prior to any debt-collection proceedings
when they cannot afford to pay the preset amount of money required for
release after a Collections Department nonpayment arrest . . . .”); id. at 58
¶ 195 (“Defendants operate a system of money bond in which the OPCDC
Defendants set a bond amount on Collections Department warrants that the
Defendants know will result in their collecting and controlling 1.8% of the
bond amount if it is ultimately paid.”).
93    Id. at 59 ¶¶ 198-99.
94    Id. at 59-60 ¶ 200.
95    Id. at 60 ¶ 202.
96    R. Doc. 250-1 at 11.
                                      26
     Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 27 of 79



Fifth Circuit has cautioned that “allegations by a defendant that its voluntary

conduct has mooted the plaintiff’s case require closer examination than

allegations that happenstance or official acts of third parties have mooted the

case.” Fontenot, 777 F.3d at 747-48 (quoting Envt’l Conservation Org. v.

City of Dallas, 529 F.3d 519, 528 n.4 (5th Cir. 2008)).

       Upon close examination, the Court is satisfied that defendants’

voluntary conduct has mooted plaintiffs’ claims related to Collections

Department fines and fees warrants.            A memorandum issued by

Administrator Kazik on September 18, 2015 stated: “Pursuant to the En Banc

directive issued earlier today, all Collections Agents for Criminal District

Court may no longer issue an Alias Capias for non-payment of fines and fees

or for failure to appear. This is effective immediately.” 97 The Court must

assume that this “formally announced change[] to official governmental

policy [was] not mere litigation posturing.” Sossamon, 560 F.3d at 325.

Moreover, the Judges reviewed all active fines and fees warrants issued by

the Collections Department before September 18, 2015, and recalled all such

warrants unless restitution remained unpaid or the individual had failed to

appear in court. 98 In doing so, the Judges wrote off $1,000,000 in court




97     R. Doc. 250-2 at 76.
98     R. Doc. 250-3 at 4.
                                      27
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 28 of 79



debts.99    Each Judge now “handles collection-related matters on their

respective dockets,” according to Administrator Kazik.100

        Admittedly, the timing of these policy changes suggests that they were

made in response to this litigation. Administrator Kazik states in his affidavit

that the Judges decided to revoke the Collections Department’s authority to

issue warrants on “the day the Judges first heard about this lawsuit.”101

Furthermore, there is no indication that defendants’ new policy will be

binding on future OPCDC judges and administrators. Cf. Lewis v. La. State

Bar Ass’n, 792 F.2d 493, 496 (5th Cir. 1986) (finding no reasonable

expectation that the alleged violation would recur because defendant bar

association had changed its policy, and the state supreme court would need

to approve any subsequent policy change). There is also precedent for

stopping and restarting the Collections Department’s warrant process: in

October 2012, the former chief judge of OPCDC directed the Collections

Department to discontinue issuing fines and fees warrants, but reversed

course in February 2013. 102




99      Id.
100     Id. at 5.
101     Id. at 3.
102     R. Doc. 250-2 at 77-78.
                                      28
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 29 of 79



        Nevertheless, the Court finds that defendants’ voluntary policy

changes make it absolutely clear that Collections Department practices could

not reasonably be expected to recur. Defendants have formally revoked the

Collections Department’s authority to issue warrants. The sincerity of this

policy change is reflected in defendants’ decision to rescind all warrants

issued by the Collections Department for failure to pay fines and fees, other

than for restitution.    Defendants have met their formidable burden of

showing that their voluntary conduct has mooted Counts One, Two, and

Four.

              4.   Defendants’ Voluntary Cessation Does Not Moot
                   Counts Five and Six
        As discussed earlier, Counts Five and Six focus on what the Judges do,

not what the Collections Department did, when criminal defendants fail to

pay fines and fees. Specifically, Count Five challenges the Judges’ practice of

failing to inquire into ability to pay before plaintiffs are imprisoned for

nonpayment, and the Judges’ conflict of interest in deciding plaintiffs’ ability

to pay.103 Count Six challenges the Judges’ practice of imprisoning criminal

defendants for failure to pay fines and fees as invidious discrimination.104

The predicate constitutional injuries underlying both of these claims are that



103     R. Doc. 161-4 at 59-60 ¶¶ 198-200.
104     Id. at 60 ¶ 202.
                                       29
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 30 of 79



plaintiffs are subject to imprisonment for failure to pay court debts, and that

the Judges do not inquire into plaintiffs’ ability to pay before their

imprisonment.

      A defendant’s voluntary cessation of challenged conduct moots a claim

only if it is absolutely clear that the challenged conduct could not reasonably

be expected to recur. Laidlaw, 528 U.S. at 189. Here, to moot Counts Five

and Six, defendants must show that plaintiffs are no longer subject to

imprisonment for nonpayment of court debts, or at least that the Judges

inquire into plaintiffs’ ability to pay before their imprisonment.

      The Court finds that defendants have not met their formidable burden

of showing mootness on Counts Five and Six. First, and most importantly,

the Judges do not represent that they have ceased imprisoning individuals

for failure to pay court debts by some means other than Collections

Department warrants. Nor do they represent that they now consider ability

to pay before imprisoning such individuals. Unlike the en banc directive

withdrawing the Collections Department’s authority to issue warrants, there

is no formal statement in the record indicating that the Judges’ challenged

practices have changed.

      Defendants principally rely on the affidavit of Administrator Kazik to

show mootness. But Administrator Kazik cannot—and does not—represent


                                      30
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 31 of 79



what the Judges’ current practices are, nor what the Judges will do going

forward. Instead, Administrator Kazik states that “[t]o the best of Judicial

Defendants’ ability, no fines and fee warrants issued by a currently sitting or

prior judge exist, unless there was a determination that other good cause

existed in the court record supporting the warrant, such as a failure to appear

in court or a failure to pay restitution.” 105 At most, this carefully worded

affidavit shows only that at one point in time—when Administrator Kazik

made this statement—there were no active fines and fees warrants purely for

failure to pay court debts, other than restitution. Defendants’ corrective

efforts to recall fines and fees warrants do not suffice to show a change in the

Judges’ practices. Indeed, as discussed later, the Judges still have enormous

incentives to collect fines and fees. Without evidence of an actual policy

change, the Court cannot simply assume that the Judges have altered their

debt collection practices.

        Second, the Judges now handle collection efforts on their respective

dockets,106 and there is evidence in the record that these efforts include

issuing alias capias warrants against criminal defendants for nonpayment of

fines and fees.107 Defendants produced worksheets listing all alias capias


105     R. Doc. 250-3 at 5.
106     Id. at 5.
107     See id. at 16, 21.
                                      31
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 32 of 79



warrants issued by Sections G and I of OPCDC as of May 18, 2017.108 Both

sections had issued (and apparently then recalled) alias capias warrants for

failure to pay fines and fees as late as April 2017.109 Moreover, in early 2017,

the Judges met en banc to discuss issues with securing court appearances for

arrestees in a timely manner. The Judges requested that “arrestees be placed

on our respective jail lists on the day of or the next day after their arrest on a

capias [warrant].”110 This request suggests that criminal defendants are still

subject to imprisonment on alias capias warrants issued by OPCDC, with no

pre-imprisonment court hearing.

        Third, defendants’ corrective efforts are so riddled with exceptions and

omissions as to cast doubt on the sincerity of their actions. Administrator

Kazik’s affidavit concedes the existence of active warrants for failure to pay

restitution and for failure to appear on court dates related to fines and fees.

And the police continue to arrest individuals on these warrants. Plaintiffs

sought to join one such individual—Monique Merren—as a named plaintiff

in this case.111 An alias capias warrant issued against Merren in 1999 after




108     Id. at 12-21.
109     Id. at 16, 21.
110     Id. at 29.
111     See R. Doc. 161.
                                       32
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 33 of 79



she failed to pay restitution for a 1998 conviction. 112 Merren was arrested

and imprisoned on this warrant in June 2016.113            Defendants offer no

explanation for treating criminal defendants who owe restitution differently

from those who don’t. Additionally, OPCDC still operates a Collections

Department. And, as discussed earlier, the Judges stopped the Collections

Department’s warrant process in 2012 before restarting it in 2013. This

policy reversal undercuts a finding that the Judges have changed their

practices for good.114

        Understandably, the Judges would like to see this lawsuit go away. But

they have not done enough to show institutional change. Again, the Judges

have not indicated that they have ceased imprisoning criminal defendants

for failure to pay, or that they now inquire into those criminal defendants’

ability to pay. Evidence in the record confirms that plaintiffs still face the




112   R. Doc. 161-7 at 1. The Court takes judicial notice of Merren’s OPCDC
docket sheet, attached as an exhibit to plaintiffs’ motion for leave to file their
second amended complaint.
113   Id.
114   The Court did not find this policy reversal sufficient to defeat mootness
on Counts One, Two, and Four in light of the Judges’ en banc directive
revoking the Collections Department’s warrant authority and their follow-up
efforts rescinding Collections Department warrants. Here, the Judges have
not issued any formal statement indicating that they have changed their
practices of imprisoning plaintiffs for nonpayment and not inquiring into
plaintiffs’ ability to pay. Additionally, the Judges’ follow-up efforts were
aimed principally at eliminating Collections Department warrants.
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   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 34 of 79



possibility of alleged constitutional injury if they fail to pay their court debts.

For these reasons, defendants’ voluntary conduct does not moot Counts Five

and Six.

            5.     The Named Plaintiffs’ Claims Are Not Moot
      The Court next addresses whether plaintiffs’ claims are moot in light of

the apparent cancellation of their court debts. A case will become moot when

“there are no longer adverse parties with sufficient legal interest to maintain

the litigation,” or “when the parties lack a legally cognizable interest in the

outcome” of the litigation. In re Scruggs, 392 F.3d 124, 128 (5th Cir. 2004)

(quoting Chevron, U.S.A., Inc. v. Traillour Oil Co., 987 F.2d 1138, 1153 (5th

Cir. 1993)). The purpose of this personal stake requirement is to ensure that

the case involves “sharply presented issues in a concrete factual setting and

self-interested parties vigorously advocating opposing positions.”            U.S.

Parole Comm’n v. Geraghty, 445 U.S. 388, 403 (1980).

      A case should not be declared moot so “long as the parties maintain a

‘concrete interest in the outcome’ and effective relief is available to remedy

the effect of the violation.” Dailey v. Vought Aircraft Co., 141 F.3d 224, 227

(5th Cir. 1998) (quoting Firefighters Local Union No. 1784 v. Stotts, 467 U.S.

561, 571 (1984)). The bar to overcome mootness is lower than the bar to

establish standing: “there are circumstances in which the prospect that a


                                        34
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 35 of 79



defendant will engage in (or resume) harmful conduct may be too speculative

to support standing, but not too speculative to overcome mootness.”

Laidlaw, 528 U.S. at 190.

        Defendants assert that OPCDC suspended the remaining balance of

court debts owed by Alana Cain and Ashton Brown, and waived that of

Reynajia Variste. 115     Additionally, defendants contend that Vanessa

Maxwell’s court debts have been paid in full. 116 Plaintiffs do not contest these

facts.117 Instead, plaintiffs make two arguments: (1) at least Cain and Brown

retain a personal interest in the outcome of the litigation; and (2) the named

plaintiffs’ claims cannot be mooted because a motion for class certification is

pending.118

        Plaintiffs first argue that defendants may reinstate Cain’s and Brown’s

suspended debts. While OPCDC suspended Cain’s and Brown’s court debts,

it waived Maxwell’s. The Court presumes that a state court uses language

decidedly, and that OPCDC used suspension and waiver to describe different

actions.




115     R. Doc. 250-2 at 12.
116     Id.
117     See R. Doc. 259-1 at 8.
118     R. Doc. 259 at 4.
                                       35
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 36 of 79



      To suspend a debt implies that OPCDC has temporarily ceased

enforcing its claim against an individual for her court debts. See Merriam-

Webster Dictionary Online, www.merriam-webster.com (defining suspend

as “to cause to stop temporarily”; “to defer to a later time on specified

conditions”; “to hold in an undetermined or undecided state awaiting further

information”). By contrast, to waive a debt suggests a decision permanently

to forgo debt collection. See id. (defining waive as “to refrain from pressing

or enforcing (something, such as a claim or rule): forgo · waive the fee”); see

also Veverica v. Drill Barge Buccaneer No. 7, 488 F.2d 880, 883 (5th Cir.

1974) (holding that deferral of payment for a salvage operation did not waive

the resulting maritime lien, “but merely suspend[ed] the remedy on the lien”

until payment came due (emphasis added)). Thus, the plain meanings of

“suspend” and “waive” indicate that defendants may reinstate Cain’s and

Brown’s, but not Maxwell’s, court debts.

      Supreme Court precedent makes plain that temporary relief from

injury does not moot a plaintiff’s claim for permanent equitable relief. In

City of Los Angeles v. Lyons, 461 U.S. 95 (1983), the Supreme Court

reviewed a district court injunction against the use of chokeholds by police

officers. After the Court granted certiorari, the city imposed a moratorium

on chokeholds. Id. at 100. As the Court stated in a later opinion, this


                                      36
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 37 of 79



moratorium “surely diminished the already slim likelihood that any

particular individual would be choked by police.” Laidlaw, 528 U.S. at 190.

Nevertheless, the Supreme Court held that the city’s moratorium did not

moot the case because “the moratorium by its terms [was] not permanent.”

Lyons, 461 U.S. at 101. By the same logic, this Court finds that temporarily

suspending Cain’s and Brown’s court debts does not moot their claims for

declaratory relief.

        Moreover, the record shows that defendants continued to collect

payments from Cain and Brown after suspending their debts. According to

a docket sheet, Cain’s court debts were suspended on April 7, 2016. 119

Nevertheless, a payment receipt dated October 12, 2016, states that Cain

owes a balance of $251.50 and that the next payment is due on October 31,

2016. 120 Similarly, a minute entry shows that Brown’s court debts were

suspended as of September 23, 2016, 121 but a payment receipt dated

February 10, 2017, shows a balance of $432.50.122 This evidence indicates

that suspension of a court debt does not bar defendants from trying to collect

that debt. Because plaintiffs Cain and Brown remain subject to defendants’




119     R. Doc. 250-3 at 22.
120     R. Doc. 230-3 at 2.
121     R. Doc. 250-3 at 23.
122     R. Doc. 230-3 at 3.
                                      37
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 38 of 79



debt collection policies and practices, including the Judges’ practices that

form the basis of Counts Five and Six, they have not been “divested of all

personal interest in the result” of the litigation. Dailey, 141 F.3d at 227.

      At oral argument, the parties represented that Cain has received a

reimbursement check from OPCDC. It is unclear, however, when or why

Cain received the reimbursement check, or which court costs it reimbursed.

The check is not in the summary judgment record, and the Court cannot

simply assume that OPCDC has reimbursed Cain for all payments made after

the date her debts were suspended. Moreover, defendants have not asserted

that Brown—or anyone else whose debts were suspended—received a

reimbursement check from OPCDC. Cain’s reimbursement check does not

affect the Court’s analysis.

      That OPCDC continued to collect payment from Cain and Brown after

suspending their debts also shows that the “capable of repetition, yet evading

review” exception applies. Ctr. for Individual Freedom, 449 F.3d at 661.

This “exception can be invoked if two elements are met: ‘(1) [T]he challenged

action was in its duration too short to be fully litigated prior to its cessation

or expiration, and (2) there was a reasonable expectation that the same

complaining party would be subjected to the same action again.’”               Id.

(alteration in original) (quoting Weinstein v. Bradford, 423 U.S. 147, 149


                                       38
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 39 of 79



(1975)). Defendants suspended Cain’s court debts in April 2016—merely

seven months after this proceeding began. Seven months was too short a

time to resolve this complicated suit. Additionally, defendants’ actual debt

collection efforts after suspending Cain’s and Brown’s debts creates a

reasonable expectation that these plaintiffs will again be subject to

defendants’ debt collection practices in the future. Thus, even if defendants’

suspension of Cain’s and Brown’s court debts otherwise moots their

individual claims, the capable of repetition, yet evading review exception

applies.

        Plaintiffs also argue that the named plaintiffs’ claims cannot be mooted

because a motion for class certification is pending.123 Generally, “a class

action becomes moot when the putative representative plaintiff’s claim has

been rendered moot before a class is certified.” Fontenot v. McCraw, 777

F.3d 741, 748 (5th Cir. 2015). But, as the Supreme Court has noted,

        There may be cases in which the controversy involving the
        named plaintiffs is such that it becomes moot as to them before
        the district court can reasonably be expected to rule on a
        certification motion. In such instances, whether the certification
        can be said to ‘relate back’ to the filing of the complaint may
        depend upon the circumstances of the particular case and
        especially . . . [whether] otherwise the issue would evade review.




123     R. Doc. 259 at 4.
                                       39
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 40 of 79



Sosna v. Iowa, 419 U.S. 393, 402 n.11 (1975); see also Genesis Healthcare,

569 U.S. at 75 (“[A]n inherently transitory class-action claim is not

necessarily moot upon the termination of the named plaintiff’s claim.”)

(internal quotation marks omitted)). An example of such a claim is a

constitutional challenge to pretrial detention, which “is by nature

temporary.” Gerstein v. Pugh, 420 U.S. 103, 111 n.11 (1975). The Court in

Gerstein noted: “It is by no means certain that any given individual, named

as plaintiff, would be in pretrial custody long enough for a district judge to

certify the class.”   Id.   In such a case, “the termination of a class

representative’s claim does not moot the claims of the unnamed members of

the class.” Id.

      The Supreme Court again addressed a challenge to pretrial detention

in McLaughlin. The named plaintiffs in McLaughlin were incarcerated and

had not yet received a probable cause hearing when they filed suit. 500 U.S.

at 48-49. Before the district court certified the class, the named plaintiffs

either received a probable cause determination or were released. “That the

class was not certified until after the named plaintiffs’ claims had become

moot [did] not deprive [the Court] of jurisdiction,” however. Id. at 52 (citing

Gerstein, 420 U.S. at 110 n.11). As in Gerstein, the Court held that the




                                      40
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 41 of 79



relation back doctrine “preserve[d] the merits of the case for judicial

resolution.” Id.

        While Sosna, Gerstein, and McLaughlin all applied the relation back

doctrine to inherently transitory claims, the Fifth Circuit has further applied

the doctrine to claims “rendered moot by purposive action of the

defendants.” Zeidman v. J. Ray McDermott & Co., Inc., 651 F.2d 1030, 1049

(5th Cir. Unit A July 1981). The Zeidman court held that, when “the plaintiffs

have filed a timely motion for class certification and have diligently pursued

it, the defendants should not be allowed to prevent consideration of that

motion by tendering to the named plaintiffs their personal claims before the

district court reasonably can be expected to rule on the issue.” Id. at 1045.

The court reasoned that defendants should not “have the option to preclude

a viable class action from ever reaching the certification stage” by “picking

off” the named plaintiffs, whose claims would otherwise become moot. 124 Id.

at 1050.


124   The Fifth Circuit has since cast doubt on whether the core holding of
Zeidman remains good law as to claims for money damages. Specifically, the
court has stated that Genesis Healthcare “undermines, at least in money
damages cases, Zeidman’s analogy between the ‘inherently transitory’
exception to mootness and the strategic ‘picking off’ of named plaintiffs’
claims.” Fontenot, 777 F.3d at 750. In Genesis Healthcare, the Supreme
Court declined to apply the “inherently transitory” exception to a claim for
money damages, which “cannot evade review,” “[u]nlike claims for
injunctive relief challenging ongoing conduct.” 569 U.S. at 77. Where, as
                                     41
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 42 of 79



      Plaintiffs’ claims for equitable relief tend to evade review, especially if

defendants can pick off the named plaintiffs by suspending or waiving their

court debts. Moreover, plaintiffs timely moved for class certification. 125 The

Court stayed this motion pending resolution of the parties’ cross-motions for

summary judgment. 126 Plaintiffs—both named and unnamed—should not be

punished by the order in which the Court has addressed issues in this case,

or by defendants’ willingness to suspend or waive the court debts of the

named plaintiffs.

      Nevertheless, the Court does not rely on the relation back exception in

determining that this case is not moot. The relation back exception applies

to a class certification motion that is adjudicated after the named plaintiffs’

claims become moot. See Fontenot, 777 F.3d at 748. The Court is not aware

of any authority for applying this exception to summary judgment motions.

To the contrary, the Zeidman court made clear that “[a] named plaintiff

whose individual claim has been rendered moot may in no event argue the

merits of the case before a class has properly been certified; prior to that time

the plaintiff may at most argue the class certification question.” Id. at 1045;




here, plaintiffs seek equitable relief, the “inherently transitory” exception
still applies and Zeidman remains good law.
125    R. Doc. 230.
126    R. Doc. 237.
                                      42
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 43 of 79



see also Geraghty, 445 U.S. at 404 (“A named plaintiff whose claim expires

may not continue to press the appeal on the merits until a class has been

properly certified.”).

        The Court therefore finds that the named plaintiffs’ claims are not

moot for two reasons. First, Alana Cain and Ashton Brown still owe court

debts; defendants’ temporary suspension of these debts does not destroy

Cain’s or Brown’s personal stake in the litigation. Second, with respect to

Cain’s and Brown’s debts, defendants’ debt collection practices are capable

of repetition, yet evading review.

              6.    Plaintiffs Do Not Request Mandamus

        Defendants argue that plaintiffs’ claims for declaratory relief against

the Judges and Administrator Kazik are tantamount to requests for a writ of

mandamus.127 It is well-established that “federal courts have no general

power to issue writs of mandamus to direct state courts and their judicial

officers in the performance of their duties.” Lamar v. 118th Judicial Dist.

Court of Tex., 440 F.2d 383, 384 (5th Cir. 1971); see also In re Campbell, 264

F.3d 730, 731 (7th Cir. 2001) (discussing when mandamus against state

judicial officers may be appropriate).        But federal courts may grant

declaratory and injunctive relief against state judicial officers. See Pulliam


127     R. Doc. 250-1 at 6.
                                       43
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 44 of 79



v. Allen, 466 U.S. 522, 541-42 (1984); Holloway v. Walker, 765 F.2d 517, 525

(5th Cir. 1985). Indeed, Section 1983 explicitly recognizes the availability of

such remedies. See 42 U.S.C. § 1983 (providing that, “in any action brought

against a judicial officer for an act or omission taken in such officer’s judicial

capacity, injunctive relief shall not be granted unless a declaratory decree

was violated or declaratory relief was unavailable”).

        Plaintiffs’ summary judgment motion clearly frames the claims against

the Judges and Administrator Kazik as requests for declaratory relief. But

defendants argue that plaintiffs essentially want this Court to direct

defendants in the exercise of their judicial duties. Specifically, according to

defendants, plaintiffs seek a court order directing the Judges to hold

hearings on ability to pay, to cease delegating warrant authority to the

Collections Department, and to stop issuing capias warrants. 128

        A writ of mandamus compels the defendant to perform a certain act.

See Mandamus, Black’s Law Dictionary (10th ed. 2014). By contrast, the

declaratory judgments plaintiffs seek on Counts One, Two, Four, Five, and

Six would merely state that certain of defendants’ practices are

unconstitutional. 129 The Supreme Court has recognized the authority of




128     R. Doc. 250-1 at 7-8.
129     See R. Doc. 161-4 at 61.
                                       44
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 45 of 79



federal courts to issue such relief against state judges. See Pulliam, 466 U.S.

at 526 (affirming attorneys’ fees award in case where district court declared

magistrate’s practice of “requir[ing] bond for nonincarcerable offenses . . . to

be a violation of due process and equal protection and enjoined it”). Thus,

the Court rejects defendants’ argument that plaintiffs’ claims for declaratory

relief are in fact requests for a writ of mandamus.

              7.   Declaratory Relief Is Appropriate

        Defendants further argue that the Court lacks the authority to entertain

plaintiffs’ claims for declaratory relief. 130 The Declaratory Judgment Act, 28

U.S.C. § 2201, is “an enabling act, which confers a discretion on the courts”

to decide or dismiss a declaratory judgment suit, “rather than an absolute

right upon the litigant” to bring such a suit. Wilton v. Seven Falls Co., 515

U.S. 277, 287 (1995) (quoting Pub. Serv. Comm’n of Utah v. Wycoff Co., 344

U.S. 237, 241 (1952)); accord Sherwin-Williams Co. v. Holmes County, 343

F.3d 383, 387, 389 (5th Cir. 2003). In analyzing claims under the Act, a court

must determine “(1) whether the declaratory action is justiciable; (2) whether

the court has the authority to grant declaratory relief; and (3) whether to




130     R. Doc. 250-1 at 8-9.
                                       45
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 46 of 79



exercise its discretion to decide or dismiss the action.” 131 Sherwin-Williams,

343 F.3d at 387.

        Defendants argue that declaratory relief is not appropriate because this

case is no longer justiciable. As explained earlier, Counts Five and Six are

not moot. Thus, the Court may entertain these claims for declaratory relief.

              8.   The Eleventh Amendment Does Not Bar Plaintiffs’
                   Official-Capacity Claims
        Defendants’ final justiciability challenge relates to whether the Judges

enjoy sovereign immunity on plaintiffs’ official-capacity claims against them.

Defendants argue that suing a state official in her official capacity is the same

as suing the state directly.132 This proposition is true for retrospective relief,

but not for prospective relief. Under Ex parte Young, 209 U.S. 123 (1908),

plaintiffs may sue state officials in their official capacity for prospective relief.

See Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 n.10 (1989) (“Of course

a state official in his or her official capacity, when sued for injunctive relief,

would be a person under § 1983 because ‘official-capacity actions for

prospective relief are not treated as actions against the State.’” (quoting




131  The Court has already addressed, and rejected, the argument that it
should exercise its discretion not to decide this case. R. Doc. 119 at 14-19.
Defendants do not renew this argument in their motion for summary
judgment.
132  R. Doc. 250-1 at 10.
                                      46
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 47 of 79



Kentucky v. Graham, 473 U.S. 159, 167, n.14 (1985))). Prospective relief

includes both injunctive and declaratory relief. See Verizon Md., Inc. v. Pub.

Serv. Comm’n of Md., 535 U.S. 635, 645 (2002) (allowing plaintiff to seek

both injunctive and declaratory relief “against the individual commissioners

in their official capacities, pursuant to the doctrine of Ex parte Young”).

Thus, defendants’ Eleventh Amendment argument is meritless.

                                      ***

        Because Counts One, Two, and Four are moot, defendants are entitled

summary judgment on these counts. Having found that Counts Five and Six

remain justiciable, the Court turns to the merits of these claims.

        B.    The Judges’ Practice of Imprisoning Individuals for
              Failure to Pay Court Debts Without Considering Ability
              to Pay Is Unconstitutional
        The core of plaintiffs’ constitutional challenge to the Judges’ debt

collection measures is that the Judges imprison poor debtors solely because

they cannot afford to pay court debts. Count Five specifically challenges the

Judges’ practice of failing to inquire into indigent debtors’ ability to pay court

debts before the debtors are imprisoned for nonpayment. 133




133   As discussed in the next section, Count Five also challenges the
constitutionality of the legislative framework that vests both judicial and
executive power in the Judges.
                                       47
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 48 of 79



              1.   The Judges Have a Policy or Practice of Failing to
                   Conduct Any Inquiry into Plaintiffs’ Ability to
                   Pay Court Debts Before Plaintiffs Are Imprisoned
                   for Nonpayment
        The facts related to Count Five are undisputed. Most importantly, the

Judges do not routinely solicit financial information from criminal

defendants who fail to pay their court debts, 134 though they do consider

ability to pay when the issue is brought to their attention. 135 As discussed

earlier, plaintiffs continue to face the possibility that they will be imprisoned

for failure to pay court debts.136 Thus, it is the Judges’ practice not to inquire

into plaintiffs’ ability to pay such debts even though plaintiffs may be

imprisoned for failure to pay.




134    R. Doc. 251-2 at 17. Plaintiffs posed the following interrogatory:
“Please describe any and all policies, procedures, and practices related to
assessing whether a person who owes fines and/or fees to the court has the
ability to pay those fines and/or fees?”; defendants responded: “There are no
written policies or procedures; the general practice, which varies depending
upon the matter, includes input from defense counsel and/or the defendant
when brought to the Court’s attention.” R. Doc. 251-5 at 297. Although
defendants deny that the Judges fail to routinely solicit information about
criminal defendants’ ability to pay, see R. Doc. 255-5 at 14, they neither point
to contrary evidence in the record nor show that plaintiffs’ evidence is too
sheer to support summary judgment. See Fed. R. Civ. P. 56(c)(1); Int’l
Shortstop, 939 F.2d at 1265. Defendants therefore fail to carry their
summary judgment burden of showing a genuine dispute of fact.
135    R. Doc. 250-2 at 12; R. Doc. 259-1 at 8.
136    See supra Part III.A.4.
                                       48
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 49 of 79



        The evidence in the record confirms this practice. Each named plaintiff

was imprisoned for failure to pay court debts. But at no point—not at

sentencing, not before their imprisonment, not at a hearing while they were

imprisoned—did a judge inquire into their ability to pay. By way of example,

Ashton Brown was imprisoned for failure to pay court fees from July 23 to

August 7, 2015. 137 No judge inquired into his ability to pay before his

imprisonment.138 Brown did secure an appearance in court, without counsel,

on August 6.139 The judge refused to release Brown, who lived in poverty and

struggled to support himself and his nine-month-old daughter, unless he

paid $100 to OPCDC. 140 There is no indication in the record that the judge

asked about Brown’s income or ability to pay.          Brown had to ask his

grandmother for help, and only after she made a $100 payment was Brown

released.141




137    R. Doc. 59-3 at 6.
138    The court did advise Brown at sentencing that if he did not have the
money to make his first payment, he should seek an extension. R. Doc. 255-
4 at 16. To be clear, plaintiffs are not challenging the imposition of fines and
fees at sentencing without an ability-to-pay inquiry; their challenge is
focused on the Judges’ practice of not providing this inquiry at any point
before plaintiffs are imprisoned for failure to pay.
139    R. Doc. 59-3 at 6.
140    Id.; R. Doc. 8-3 at 1.
141    R. Doc. 8-3 at 1; R. Doc. 59-3 at 6.
                                        49
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 50 of 79



        Alana Cain was imprisoned for failure to pay restitution and fees from

March 11 to March 18, 2015.142 There is no indication that any judge inquired

into her ability to pay before her imprisonment. She appeared before a judge

while in jail; at that hearing, the transcript of which is in the record,143 the

judge did not ask Cain whether she could pay her court debts, nor did he ask

her about her income.144 If the judge had inquired into Cain’s ability to pay,

he would have learned that Cain—who had given birth to her first child a few

weeks earlier—made only $200 per month and struggled to afford food and

clothes.145 The judge did ask Cain when she would be able to continue

making payments.146 After Cain stated that she could continue making

payments upon her release, the judge ordered her release and directed her to

return to court for a status update two weeks later. 147

        Some criminal defendants who appeared before a judge while they

were imprisoned for failure to pay fines and fees were sent back to jail,

apparently because they could not make a payment. For example, Tyrone

Singleton was arrested for failure to pay fines and fees on November 11,




142     R. Doc. 59-3 at 2; R. Doc. 251-5 at 369.
143     R. Doc. 95-3 at 27-35.
144     R. Doc. 8-2 at 1-2.
145     Id. at 1.
146     R. Doc. 95-3 at 30.
147     Id. at 29-32.
                                        50
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 51 of 79



2013.148 He appeared before a judge two weeks later, on November 25, but

was sent back to jail for another week before his release. 149

        This evidence suggests that the Judges do not release criminal

defendants imprisoned for failure to pay court debts without a payment, or

some promise of payment. 150 Defendants cite no statutory authority for the

Judges’ actions. 151 This process most resembles contempt of court in which

an individual is imprisoned until she complies with a court order—here, an

order to pay fines and fees. Because plaintiffs may secure their release by

making a payment, their imprisonment for nonpayment is a conditional

penalty. Hicks v. Feiock, 485 U.S. 624, 633 (1988). Contempt of court that

imposes a conditional penalty is civil, rather than criminal, “because it is

specifically designed to compel the doing of some act,” rather than to punish.

Id.




148    R. Doc. 251-5 at 411. The Court takes judicial notice of the facts
contained within this exhibit, which were taken from publicly available
docket sheets.
149    Id.
150    See R. Doc. 251-2 at 22; R. Doc. 255-5 at 25.
151    Because OPCDC sometimes includes payment of court debts as a
condition of probation, the court could revoke an individual’s probation for
failure to pay. See La. Code Crim. Proc. art. 895.1 (authorizing courts to
require payment of restitution and certain fees as a condition of probation);
id. arts. 899, 900 (describing procedures for revoking probation). But there
is no indication in the record that OPCDC’s debt collections practices
generally, or ever, involve probation revocation.
                                      51
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 52 of 79



        There is no genuine dispute, therefore, that the Judges have a practice

of not inquiring into plaintiffs’ ability to pay court debts when plaintiffs are

essentially held in civil contempt and imprisoned for nonpayment.

              2.    The Judges’ Failure to Inquire into Plaintiffs’
                    Ability to Pay Court Debts Before Plaintiffs Are
                    Imprisoned for Nonpayment Violates Due
                    Process
        Plaintiffs argue that the Judges’ failure to inquire into plaintiffs’ ability

to pay court debts violates the Fourteenth Amendment.152 Although “[d]ue

process and equal protection principles converge” in cases involving the

criminal justice system’s treatment of indigent individuals, Bearden v.

Georgia, 461 U.S. 660, 665 (1983), plaintiffs’ argument sounds in procedural

due process. Thus, the familiar framework set out in Mathews v. Eldridge,

424 U.S. 319 (1976), applies. See Turner v. Rogers, 564 U.S. 431, 444-45

(2011) (applying Mathews v. Eldridge to civil contempt proceedings). The

Mathews v. Eldridge framework calls for the Court to consider three factors:

“(1) the nature of ‘the private interest that will be affected,’ (2) the

comparative ‘risk’ of an ‘erroneous deprivation’ of that interest with and

without ‘additional or substitute procedural safeguards,’ and (3) the nature

and magnitude of any countervailing interest in not providing ‘additional or




152     R. Doc. 251-1 at 38-39.
                                         52
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 53 of 79



substitute procedural requirements.’” Id. (quoting Mathews, 424 U.S. at

335).

        Supreme Court precedent speaks directly to the kind of procedural

protections the Judges must provide to plaintiffs.        This precedent is

grounded in the well-established principle that an indigent criminal

defendant may not be imprisoned solely because of her indigence. See Tate

v. Short, 401 U.S. 395, 398 (1971); see also United States v. Voda, 994 F.2d

149, 154 n.13 (5th Cir. 1993) (“Constitutionally, courts are limited in the

penalty they can impose for nonpayment of criminal fines because of

inability to pay.”). Admittedly, there is nothing necessarily unconstitutional

about imprisoning a convicted criminal defendant for failing to pay fines and

fees. As the Supreme Court recognized, this custom “dates back to medieval

England and has long been practiced in this country.” Williams v. Illinois,

399 U.S. 235, 239 (1970) (footnote omitted). But the Supreme Court has

imposed constitutional limits on this practice when applied to indigent

criminal defendants. In Williams, for example, the Court held that “an

indigent criminal defendant may not be imprisoned in default of payment of

a fine beyond the maximum [term of imprisonment] authorized by the

statute regulating the substantive offense.”      399 U.S. at 241.      Such




                                     53
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 54 of 79



imprisonment constitutes “impermissible discrimination that rests on ability

to pay.” Id.

      Following Williams, the Supreme Court addressed a constitutional

challenge to a state’s method of collecting fines from an indigent criminal

defendant.     Tate, 401 U.S. 395.   The criminal defendant in Tate had

accumulated fines for traffic offenses, which were punishable only by fine.

Id. at 396-97. Because the defendant was indigent when the state court

imposed the fines, the court sentenced him to a term of imprisonment—each

day counted as five dollars toward the defendant’s outstanding fines. Id. The

Court invalidated this practice as violating equal protection, explaining that

“the Constitution prohibits the State from imposing a fine as a sentence and

then automatically converting it into a jail term solely because the defendant

is indigent and cannot forthwith pay the fine in full.” Id. at 398 (citation

omitted).

      Over a decade later, in Bearden, the Supreme Court addressed a

similar challenge to a probation revocation proceeding. There, the Court

held that an indigent defendant’s probation cannot be revoked (and thus

converted into a jail term) for his failure to pay a court-imposed fine or

restitution “absent evidence and findings that the defendant was somehow




                                     54
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 55 of 79



responsible for the failure or that alternative forms of punishment were

inadequate.” 461 U.S. at 665. The Court further held:

      [A] sentencing court must inquire into the reasons for the failure
      to pay. If the probationer willfully refused to pay or failed to
      make sufficient bona fide efforts legally to acquire the resources
      to pay, the court may revoke probation and sentence the
      defendant to imprisonment . . . . If the probationer could not pay
      despite sufficient bona fide efforts to acquire the resources to do
      so, the court must consider alternate measures of punishment
      other than imprisonment. Only if alternate measures are not
      adequate to meet the State’s interests in punishment and
      deterrence may the court imprison a probationer who has made
      sufficient bona fide efforts to pay. To do otherwise would deprive
      the probationer of his conditional freedom simply because,
      through no fault of his, he cannot pay the fine.

Id. at 672-73. The state court imprisoned Bearden “because he could not pay

the fine, without considering the reasons for the inability to pay or the

propriety of reducing the fine or extending the time for payments or making

alternative orders.” Id. at 674. In this way, “the court automatically turned

a fine into a prison sentence.” Id.

      More recently, the Supreme Court in Turner reiterated the importance

of the ability-to-pay determination prior to imprisonment, this time in the

context of a civil contempt proceeding. The Court applied the Mathews v.

Eldridge framework to determine whether an indigent defendant has “a right

to state-appointed counsel at a civil contempt proceeding, which may lead to

his incarceration.”    Turner, 564 U.S. at 441.       The Court noted “the


                                      55
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 56 of 79



importance of the interest at stake”—the defendant’s interest in preventing

the “loss of [his] personal liberty through imprisonment.” Id. at 445. Given

the importance of this interest, the Court stated, “it is obviously important to

assure accurate decisionmaking in respect to the key ‘ability to pay’

question.” Id. The Court held that due process does not require state-

appointed counsel so long as the state provides other procedural safeguards

equivalent to “adequate notice of the importance of ability to pay, fair

opportunity to present, and to dispute, relevant information [concerning

ability to pay], and court findings.” Id. at 448.

      The Court finds that Bearden is controlling, and that Turner is

instructive. Admittedly, there are some differences between those cases and

this one. For example, unlike the court in Bearden, OPCDC does not impose

a term of imprisonment upon criminal defendants for failure to pay their

court debts. And OPCDC’s debt collection procedures appear to operate

independently from revocation of probation. See State v. Kenniston, 976 So.

2d 226, 227 (La. App. 4 Cir. 2008) (noting that OPCDC issued two alias

capias warrants for failure to pay court debts, and that the state later initiated

probation revocation proceedings); see also La. Code Crim. Proc. arts. 899-

900 (describing probation revocation procedures). But “[n]othing in the

language of the Bearden opinion prevents its application to any given


                                       56
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 57 of 79



enforcement mechanism.” United States v. Payan, 992 F.2d 1387, 1396 (5th

Cir. 1993). And civil contempt in this case, like probation revocation in

Bearden, works the same constitutional injury: plaintiffs, like the criminal

defendant in Bearden, are subject to imprisonment for failure to pay court-

imposed fines and fees.

      Like the defendant in Turner, plaintiffs are subject to imprisonment as

the result of civil contempt-like proceedings. Admittedly, neither party in

Turner was represented by counsel during the civil contempt proceeding,

and the complaining party was not the state, 564 U.S. at 448-49; here, by

contrast, the complaining party—OPCDC—is both an organ of the state and

represented by counsel (the Judges), and the criminal defendants generally

are also represented by counsel. But Turner does stand for the broader

proposition that the ability-to-pay inquiry required by Bearden must have

some procedural safeguards.

      Bearing in mind that Bearden and Turner speak directly to the

procedural requirements of an ability-to-pay inquiry, the Court now turns to

the application of the Mathews framework to the facts of this case. First,

plaintiffs’ interest in securing their “freedom ‘from bodily restraint[]’ lies ‘at

the core of the liberty protected by the Due Process Clause.’” Turner, 564

U.S. at 445 (quoting Foucha v. Louisiana, 504 U.S. 71, 80 (1992)). Plaintiffs’


                                       57
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 58 of 79



liberty interest weighs heavily in favor of procedural safeguards provided

before imprisonment.

        Second, the risk of erroneous deprivation without an inquiry into

ability to pay is high. At least some criminal defendants, including the

named plaintiffs, are subject to imprisonment for failure to pay fines and fees

despite their indigence. OPCDC necessarily determined that all named

plaintiffs, except Reynaud Variste, were indigent when it appointed counsel

for them during their criminal proceedings. 153 Moreover, Louisiana courts

presume that a criminal defendant who cannot afford counsel is indigent for

purposes of ability to pay court debts. See State v. Williams, 288 So. 2d 319,

321 (La. 1974) (noting that appointment of counsel established defendant’s

indigence); State v. Morales, 221 So. 3d 257, 258 (La. App. 3 Cir. 2017)

(noting that appointment of counsel is “presumptive evidence of indigence”);

State v. Hebert, 669 So. 2d 499, 502 (La. App. 4 Cir. 1996) (“[A] defendant

represented by appointed counsel . . . is presumed indigent and cannot be

ordered to serve additional jail time in lieu of the payment of costs.”). The

inquiry itself surely must involve at least notice and opportunity to be heard,




153   See R. Doc. 228 at 6; R. Doc. 251-2 at 17; R. Doc. 255-5 at 24; La. Rev.
Stat. § 15:175(A)(1)(b) (“A person will be deemed ‘indigent’ who is unable,
without substantial financial hardship to himself or to his dependents, to
obtain competent, qualified legal representation on his own.”).
                                     58
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 59 of 79



as suggested by Turner; an ability-to-pay inquiry without these basic

procedural protections would likely be ineffective.

        Third, the Judges fail to point to any countervailing interest in not

inquiring into plaintiffs’ ability to pay before imprisonment. According to

Administrator Kazik, the Judges consider ability to pay if a criminal

defendant raises the issue. 154    But Bearden and Turner require more.

Bearden commands that before a court imprisons an individual for failure to

pay a court-imposed fine or fee, the court must inquire into her reasons for

failure to pay. 461 U.S. at 672. If the individual is unable to pay the court

debts despite sufficient bona fide efforts to do so, then the court must

consider alternative measures. Id. Turner holds that this ability-to-pay

inquiry must have at least some procedural safeguards. The record shows

that at least until 2015, the Collections Department gave notice to criminal

defendants before issuing alias capias warrants for failure to pay, and these

criminal defendants usually appeared before a judge while they were

imprisoned for failure to pay. The Judges therefore provided notice and an

opportunity to be heard to plaintiffs—just not “in respect to the key ‘ability

to pay’ question.” Turner, 564 U.S. at 445. In light of this limited notice and




154  R. Doc. 250-3 at 5 (Kazik Affidavit stating that “[i]f a criminal
defendant raises the issue of their ability to pay, the judges consider it”).
                                      59
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 60 of 79



opportunity to be heard formerly provided by OPCDC, the Court cannot

discern any state interest in the Judges’ failure to provide notice and an

opportunity to be heard on ability to pay before imprisonment.

        Moreover, there is no authority for the proposition that a criminal

defendant must raise the issue of her inability to pay. As the Court explained

in an earlier order, the Judges’ reliance on Garcia v. City of Abilene, 890

F.2d 773 (5th Cir. 1989), and Sorrells v. Warner, 21 F.3d 1109 (5th Cir. 1994)

(unpublished), is unavailing.155 In both cases, the criminal defendant had an

opportunity to claim indigence but squandered it by failing (or repeatedly

failing) to appear, in person, at scheduled court hearings. Sorrells, 21 F.3d

at *1; Garcia, 890 F.2d at 775; see also Doe v. Angelina County, 733 F. Supp.

245, 253 (E.D. Tex. 1990) (distinguishing Garcia because “a party cannot fail

to appear if no provision is made for such a proceeding” in the first place);

De Luna v. Hidalgo County, 853 F. Supp. 2d 623, 646-47 (S.D. Tex. 2012)

(citing Doe v. Angelina County). Regardless, Turner clearly suggests that

the state provide the procedural protection of notice that ability to pay is

important; a contrary rule, requiring the criminal defendant to raise the issue

on her own, would undermine Bearden’s command that a criminal




155     R. Doc. 136 at 15-16.
                                      60
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 61 of 79



defendant not be imprisoned solely because of her indigence. 461 U.S. at

672-73.

     It is undisputed that the Judges provide no ability-to-pay inquiry, nor

any further procedural safeguards, to indigent criminal defendants who are

subject to imprisonment for failure to pay court debts. Under Bearden and

Turner, the Judges must inquire into plaintiffs’ ability to pay before their

imprisonment. This inquiry must involve certain procedural safeguards,

especially notice to the individual of the importance of ability to pay and an

opportunity to be heard on the issue. If an individual is unable to pay, then

the Judges must consider alternative measures before imprisoning the

individual.

     Plaintiffs are entitled summary judgment on Count Five to the extent

they seek a declaration that the Judges’ practice of not inquiring into

plaintiffs’ ability to pay before they are imprisoned for nonpayment violates

the Fourteenth Amendment.

     C.       The Judges’ Control over Both Fines and Fees Revenue
              and Ability-to-Pay Determinations Violates Due
              Process
     Count Five also challenges the dual role the Judges play: they are

responsible for both determining criminal defendants’ ability to pay fines

and fees and managing a portion of the revenue derived from those fines and


                                     61
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 62 of 79



fees.156 Plaintiffs argue that the Judges’ power over this revenue creates a

financial conflict of interest, depriving criminal defendants of a neutral

tribunal to determine their ability to pay. 157

              1.   Legal Background

        “Trial before an unbiased judge is essential to due process.” Pub.

Citizen, Inc. v. Bomer, 274 F.3d 212, 217 (5th Cir. 2001) (quoting Johnson v.

Mississippi, 403 U.S. 212, 216 (1971)); see also Brown v. Edwards, 721 F.2d

1442, 1451 (5th Cir. 1984) (“The right to a judge unbiased by direct pecuniary

interest in the outcome of a case is unquestionable.”). Although due process

requires a judge’s disqualification “only in the most extreme of cases,” Aetna

Life Ins. Co. v. Lavoie, 475 U.S. 813, 821 (1986), the Supreme Court has

found due process violations when judges maintained pecuniary interests in

cases before them.

        In Tumey v. Ohio, 273 U.S. 510 (1927), a defendant was convicted of

possessing liquor in violation of Ohio’s Prohibition Act. The Act provided for

trial in a “liquor court,” in which the village mayor served as judge. Id. at

521. The money raised by fines levied in these courts was divided between

the state, the village general fund, and two other village funds. Id. at 521-


156    Plaintiffs do not challenge the Judges’ initial assessment of fines and
fees, and the Court does not address it.
157    R. Doc. 251-1 at 38.
                                       62
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 63 of 79



22. One of these other funds covered expenses associated with enforcing the

Prohibition Act, including nearly $700 paid to the mayor “as his fees and

costs, in addition to his regular salary.” Id. at 522. The Supreme Court

overturned Tumey’s conviction, and held that the mayor, acting as judge, was

disqualified from deciding Tumey’s case “both because of his direct

pecuniary interest in the outcome, and because of his official motive to

convict and to graduate the fine to help the financial needs of the village.” Id.

at 535.

      In Ward v. Village of Monroeville, 409 U.S. 57 (1972), the Court

considered a challenge to traffic fines imposed by another Ohio mayor’s

court. Fines generated by the mayor’s court at issue in Ward provided a

“major part” of the total operating funds for the municipality that the mayor

oversaw. Id. at 58. The Court viewed the case as controlled by Tumey and

noted, “that the mayor [in Tumey] shared directly in the fees and costs did

not define the limits of the principle” of judicial bias articulated in that case.

Id. at 60. Instead, the Court offered a general test to determine whether an

arrangement of this type compromises a criminal defendant’s right to a

disinterested and impartial judicial officer:

      [T]he test is whether the [judge’s] situation is one “which would
      offer a possible temptation to the average man as a judge to forget
      the burden of proof required to convict the defendant, or which


                                       63
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 64 of 79



      might lead him not to hold the balance nice, clear, and true
      between the state and the accused.”
Id. (quoting Tumey, 273 U.S. at 532). In holding that the mayor’s court in

Ward violated due process, the Court found that the impermissible

temptation “[p]lainly . . . may also exist when the mayor’s executive

responsibilities for village finances may make him partisan to maintain the

high level of contribution from the mayor’s court.” Id.

      In some cases, a judicial officer’s institutional interest may be too

remote to create an unconstitutional conflict of interest. In Dugan v. Ohio,

277 U.S. 61 (1928), for example, a mayor with judicial functions also served

as one of five commissioners. Collectively, these commissioners exercised

the legislative power of the city, and shared executive powers with the city

manager (who was the “active executive”). Id. at 63. The Court held that the

mayor’s relation “to the executive or financial policy of the city” was too

“remote” to interfere with his judicial functions. Id. at 65.

      The Fifth Circuit applied Tumey and Ward to strike down Mississippi’s

system of compensating justices of the peace. Brown v. Vance, 637 F.2d 272

(5th Cir. Jan. 1981). By law, the justices of the peace were paid based on the

volume of cases filed in their courts. Id. at 274. No evidence of “actual

judicial bias” was necessary “to hold the fee system constitutionally infirm.”

Id. at 282. Instead, the incontrovertible possibility that the justices of the

                                      64
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 65 of 79



peace would “compete for business by currying favor with arresting officers

or taking biased actions to increase their caseload . . . deprive[d] criminal

defendants of their due process right to a trial before an impartial tribunal.”

Id.

              2.    The Judges Face a Conflict of Interest When They
                    Determine Ability to Pay Fines and Fees
        It is undisputed that the Judges are responsible for both managing

fines and fees revenue and determining whether criminal defendants are

able to pay those same fines and fees, once imposed. Fines and fees revenue

goes into the Judicial Expense Fund,158 which the Judges may use “for any

purpose connected with, incidental to, or related to the proper

administration or function of the court or the office of the judges thereof,”

La. Rev. Stat. § 13:1381.4(C), except to supplement their own salaries, id. §

13:1381.4(D). In their capacity as administrators and executives of OPCDC,

the Judges exercise total control over the Judicial Expense Fund. 159 The

Judges use this money primarily to fund their own staffs.160

        Various statutes give the Judges authority over revenue from fines and

fees. First, Louisiana law directs the Sheriff to allocate half of all fines and




158     R. Doc. 251-2 at 12; R. Doc. 251-5 at 382.
159     R. Doc. 251-2 at 3; R. Doc. 255-5 at 1.
160     R. Doc. 251-2 at 5-6; R. Doc. 255-5 at 2; see also R. Doc. 248 at 3.
                                        65
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 66 of 79



forfeitures to an “account to be administered by the judges of the criminal

district court of Orleans Parish.” Id. § 15:571.11(D). This revenue is “to be

used in defraying the expenses of the criminal courts of the parish,

extraditions, and such other expenses pertaining to the operation of the

criminal court of Orleans Parish.” Id.

     Second, the Judges may impose costs of up to $100 on convicted

criminal defendants (other than those who are indigent); Louisiana law

directs the Judicial Administrator to place these sums in a “Criminal Court

Cost Fund” to be administered by the Judges. Id. § 13:1377. Each of the

Judges may authorize disbursements from this fund “to assist in the

operation and maintenance” of OPCDC. Id. § 13:1377(C).

     Third, and most importantly, the Judges may impose a fee of up to

$500 on a misdemeanant and up to $2,500 on a felon; Louisiana law directs

the Judicial Administrator to place these sums in the Judicial Expense Fund.

Id. § 13:1381.4. The same provision also imposes a $5 fee on every convicted

criminal defendant, and directs the Judicial Administrator to place these

sums in the Judicial Expense Fund. Id. § 13:1381.4(A)(1).

     Fourth, the Judges may impose a $14 fee on convicted, non-indigent

criminal defendants; this cost goes into an Indigent Transcript Fund “to

compensate court reporters for the preparation of all transcripts for indigent


                                     66
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 67 of 79



defendants.” Id. § 13:1381.1(A). Louisiana law authorizes the Judges, sitting

en banc, to pay “deputy court reporters for the transcription of indigent

defendant cases” out of the Indigent Transcript Fund. Id. § 13:1381.1(C).

Evidently, the Judges impose additional costs under Louisiana Code of

Criminal Procedure Article 887(A) for the Indigent Transcript Fund. 161

        Fifth, the Judges (or presiding judge) may establish a drug division and

may administer a probation program for criminal defendants charged with

an alcohol- or drug-related offense. La. Rev. Stat. § 13:5304. Louisiana law

requires that individuals in this program pay for their own drug testing,

“unless the court determines that he is indigent.” Id. § 13:5304(B)(3)(e).

        Although several of these fees appear to be dedicated to certain

purposes, the revenue all goes into the Judicial Expense Fund. 162

Approximately $1,000,000 from various fines and fees goes into the OPCDC

budget each year. 163 This funding structure puts the Judges in the difficult




161   R. Doc. 248 at 4.
162   R. Doc. 251-2 at 12. In support of this fact, plaintiffs point to
spreadsheets showing that from 2013 through 2015, all fines and fees
revenue went to the general fund (i.e., the Judicial Expense Fund) rather
than the restricted fund. R. Doc. 251-5 at 382-83. In 2012, some of these
fines and fees, including indigent transcript fees, went into the restricted
fund. Id. Defendants do not contradict this evidence.
163   Specifically, OPCDC obtained $830,384 in fines and fees revenue in
2012, $973,311 in 2013, $1,084,968 in 2014, and $1,188,420 in 2015. R. Doc.
248 at 2.
                                     67
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 68 of 79



position of not having sufficient funds to staff their offices unless they impose

and collect sufficient fines and fees from a largely indigent population of

criminal defendants.

      The Judges’ power over fines and fees revenue creates a conflict of

interest when those same Judges determine (or are supposed to determine)

whether criminal defendants are able to pay the fines and fees that were

imposed at sentencing. As explained earlier, the Judges have a constitutional

obligation to inquire into criminal defendants’ ability to pay court debts. But

the Judges have a financial stake in the outcome of ability-to-pay

determinations; if they determine that a criminal defendant has the ability

to pay, and collect money from her, then the revenue goes directly into the

Judicial Expense Fund. Cf. United Church of the Med. Ctr. v. Med. Ctr.

Comm’n, 689 F.2d 693, 699 (7th Cir. 1982) (“In this case the Commission

has a pecuniary interest in the outcome of the reverter proceedings, because

if the Commission finds a nonuse or disuse, the property reverts to the

Commission . . . . This is sufficient . . . to mandate disqualification of the

Commission in the reverter proceeding . . . .”). The Judges therefore have an

institutional incentive to find that criminal defendants are able to pay fines

and fees.




                                       68
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 69 of 79



        The Judges’ dual role, as adjudicators who determine ability to pay and

as managers of the OPCDC budget, offer a possible temptation to find that

indigent criminal defendants are able to pay their court debts. This “inherent

defect in the legislative framework” arises not from the bias of any particular

Judge, but “from the vulnerability of the average man—as the system works

in practice and as it appears to defendants and to the public.” Brown, 637

F.2d at 284.

        The Judges’ practice of failing to inquire into ability to pay is itself

indicative of their conflict of interest. Cf. Esso Standard Oil Co. v. Cotto, 389

F.3d 212, 219 (1st Cir. 2004) (noting that evidence of actual bias includes

“procedural irregularities in the decision to assess [a] fine”). As is the

dramatic increase in assessments for indigent transcript fees between 2012

and 2013—from $9,841.50 to $271,581.75—when OPCDC shifted revenue

from such fees from the restricted fund to the Judicial Expense Fund. 164

Defendants insist that they do not benefit from this revenue, which solely

aids indigent criminal defendants. 165 This assertion is undercut by financial

statements for the Judicial Expense Fund, which show expenditures on

transcripts of $0 in 2013 and 2015 and $7,044 in 2014. 166


164     R. Doc. 248-1 at 6-7; R. Doc. 251-5 at 382-83.
165     R. Doc. 255-5 at 17.
166     R. Doc. 248-1 at 2-4.
                                       69
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 70 of 79



        Further evidence of an actual conflict of interest is that the Judges have

sought ways to increase collections from criminal defendants. At a City

Council hearing in July 2014, a judge explained that the Judges were sharing

ideas “in an effort to increase [their] collection” of fines and fees. 167 The

Collections Department itself was created by the Judges in the 1980s to

facilitate collection efforts.168 Moreover, at least from 2013 through 2015,

the amount of fees (which go entirely to OPCDC) imposed by the Judges far

exceeded the amount of fines (only half of which goes to OPCDC). 169 This

suggests that the Judges prefer to impose fees for OPCDC rather than share

fines with the DA.

        Defendants’ reliance on Broussard v. Parish of New Orleans, 318 F.3d

644 (5th Cir. 2003), is misplaced. The plaintiffs in Broussard challenged the

constitutionality of the Louisiana bail fee statutes on a number of grounds.

As relevant here, the plaintiffs argued that these statutes violated Tumey and

Ward by “tempt[ing] sheriffs to stack charges against arrestees in violation

of their due process rights.” Id. at 661. The court found that Tumey and


167   R. Doc. 251-5 at 284. Defendants object to City Council transcripts as
incomplete and taken out of context. R. Doc. 255-5 at 18. But the Judges’
statements are admissible as admissions of party opponents. Fed. R. Evid.
801(d)(2). Moreover, defendants do not contend that the statements at issue
were inaccurately transcribed.
168   R. Doc. 248 at 7.
169   See R. Doc. 248-1 at 7-9, 11-13.
                                       70
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 71 of 79



Ward were inapplicable because the sheriffs-defendants in Broussard did

not exercise a judicial function. Id. at 662. As purely executive actors, the

sheriffs were “not expected to maintain a level of impartiality equal to that

expected of judges.” Id. Unlike the sheriffs in Broussard, the Judges in this

case do exercise a judicial function when they are required to determine

ability to pay fines and fees. Thus, unlike in Broussard, the Ward test applies

to whether the Judges have an unconstitutional conflict of interest.

      That the Judges have an institutional, rather than direct and

individual, interest in maximizing fines and fees revenue is immaterial. See

Chrysler Corp. v. Tex. Motor Vehicle Comm’n, 755 F.2d 1192, 1199 (5th Cir.

1985) (“Certainly the due process principle distilled from the Tumey line

reaches beyond immediate economic stakes to include economic interests

said to be ‘indirect’ or ‘institutional.’”). Ward itself involved a mayor who

had no direct, personal interest in traffic fine revenue; his interest related

solely to his “executive responsibilities for village finances.” 409 U.S. at 60.

Likewise, the Judges’ interest in fines and fees revenue is related to their

executive responsibilities for OPCDC finances.

      Additionally, that the Judges manage court funds collectively does not

render their institutional interest too remote. Unlike in Dugan, where the

mayor was only one member of a five-person commission that shared


                                      71
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 72 of 79



executive power with the city manager (who was the acting executive),

collectively the Judges exercise all executive power over OPCDC’s share of

fines and fees revenue. Moreover, the Supreme Court has applied Tumey

and Ward to the members of a state board of optometry, all of whom had a

personal interest in revoking the licenses of optometrists employed by

corporations. Gibson v. Berryhill, 411 U.S. 564, 578 (1973). The Court held

that the board members were disqualified from adjudicating charges against

such optometrists.      Id.; cf. Chrysler, 755 F.2d at 1199 (finding no

impermissible bias where only four out of nine commissioners potentially

had conflict of interest).

      Plaintiffs have established that the Judges’ dual role creates a “possible

temptation . . . not to hold the balance nice, clear, and true between the state

and the accused.” Ward, 409 U.S. at 60 (quoting Tumey, 273 U.S. at 532).

By no fault of their own, the Judges’ “executive responsibilities for [court]

finances may make [them] partisan to maintain the high level of

contribution,” in the form of fines and fees, from criminal defendants. Id.

            3.    The Judges’ Conflict of Interest Is Substantial
      Plaintiffs must also establish that the Judges’ conflict of interest is

substantial. In Tumey, the Court noted that “[t]he minor penalties usually

attaching to the ordinances of a village council, or to the misdemeanors in


                                      72
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 73 of 79



which the mayor may pronounce final judgment without a jury, do not

involve any such addition to the revenue of the village as to justify the fear

that the mayor would be influenced in his judicial judgment by that fact.”

273 U.S. at 534. According to the Ninth Circuit, the proper question is

“whether the official motive here is ‘strong,’ so that it ‘reasonably warrants

fear of partisan influence on the judgment.’” Alpha Epsilon Phi Tau Chapter

Hous. Ass’n v. City of Berkeley, 114 F.3d 840, 847 (9th Cir. 1997) (quoting

Commonwealth of N. Mariana Islands v. Kaipat, 94 F.3d 574, 575, 582 (9th

Cir. 1996)).

        The Judges’ institutional interest in maximizing fines and fees revenue

is substantial. Fines and fees revenue is obviously important to the Judges;

fines and fees provide approximately 10% of the total OPCDC budget and one

quarter of the Judicial Expense Fund.170 Cf. DePiero v. City of Macedonia,

180 F.3d 770, 780-82 (6th Cir. 1999) (finding a due process violation when a

maximum of 9% of municipality’s general fund derived from mayor’s court

revenue). Judge Zibilich emphasized the importance of this revenue during

a City Council hearing, stating that the fines and fees revenue “probably

represents fully a fourth of the monies that we need to be operational, and if

we are handcuffed in that particular regard, that money[’s] replacement’s


170     R. Doc. 248 at 2; R. Doc. 248-1 at 1-4.
                                       73
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 74 of 79



going to have to come from some place.” 171 The Judges spend most of the

Judicial Expense Fund on salaries and benefits for their employees (though

not themselves), and most of the money for these salaries and benefits comes

from the Judicial Expense Fund. 172

        Moreover, the aggregate amount at stake in determining criminal

defendants’ ability to pay is significant. According to the parties’ joint

stipulations of fact, OPCDC collects only between 40% and 50% of the fines

and fees it assesses. 173 The amounts that go uncollected run in the hundreds

of thousands of dollars. In 2013, for example, OPCDC assessed $1,517,031.17

in Judicial Expense Fund fees, Indigent Transcript Fund fees, and drug

testing fees—the three largest categories of fees that go into the Judicial

Expense Fund. 174 OPCDC collected only $805,067.12 in these fees. 175 The

amount uncollected, $711,964.05, was equal to 17% of the Judicial Expense




171   R. Doc. 251-5 at 247.
172   R. Doc. 251-2 at 5-6; R. Doc. 255-5 at 2.
173   R. Doc. 248 at 5.
174   See R. Doc. 248-1 at 7.
175   See id. at 11. Of course, fees assessed in one year may be collected in
later years. But the record does not include time frames for collections of
specific assessments.
                                      74
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 75 of 79



Fund revenue in 2013.176 That same figure was 14% in 2014, and 18% in

2015.177

        Both Administrator Kazik and Judge Zibilich have suggested that

collection rates are low partly because most criminal defendants are

indigent. In a 2014 letter requesting a higher appropriation from the City of

New Orleans, Administrator Kazik explained that most of the OPCDC budget

“is received from the various fines and fees assessed to defendants at

sentencing.”178 But, he stated, “[m]ost defendants are unemployed and

indigent, which makes collecting those assessed fees a challenge and an

unreliable revenue resource for the Court’s operational needs.”179 At a City

Council meeting, Judge Zibilich noted that nearly 95% of the criminal

defendants in OPCDC cannot afford an attorney, and stated: “If they can’t

afford an attorney, just imagine how difficult it’s going to be for us to have to

chase them around the block to try to get money from them.” 180

        It is undisputed that OPCDC depends heavily on fines and fees

revenue, that many criminal defendant subject to these fines and fees are


176   See id. at 2 (2013 general fund revenue was $4,100,413).
177   See id. at 3 (2014 general fund revenue was $3,928,025); id. at 4 (2015
unrestricted fund revenue was $3,940,535); id. at 8-9 (2014 and 2015
assessments); id. at 12-13 (2014 and 2015 collections).
178   R. Doc. 251-5 at 174.
179   Id.
180   Id. at 286.
                                      75
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 76 of 79



indigent, and that collection rates are only 40% to 50%. Based on these facts,

it is clear the Judges’ motive to maximize fines and fees revenue is strong

enough reasonably to warrant fear of partisan influence on ability-to-pay

determinations. See Alpha Epsilon, 114 F.3d at 847 (9th Cir. 1997). Thus,

plaintiffs have established that the Judges face a substantial conflict of

interest when they determine ability to pay fines and fees (or are supposed

to do so).

      This conflict of interest exists by no fault of the Judges themselves. It

is the unfortunate result of the financing structure, established by governing

law, that forces the Judges to generate revenue from the criminal defendants

they sentence. Of course, the Judges would not be in this predicament if the

state and city adequately funded OPCDC. So long as the Judges control and

heavily rely on fines and fees revenue, however, the Judges’ adjudication of

plaintiffs’ ability to pay those fines and fees offends due process. Thus,

plaintiffs are entitled summary judgment on Count Five to the extent they

seek a declaration that the Judges’ institutional incentives create an

impermissible conflict of interest when they determine, or are supposed to

determine, plaintiffs’ ability to pay fines and fees.




                                       76
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 77 of 79



        D.    Plaintiffs Are Not Entitled Summary Judgment on
              Count Six
        Count Six is an equal protection challenge against defendants’ debt

collection practices. Plaintiffs argue that these practices are harsher than

debt collection measures available to private creditors. 181

        Plaintiffs attempt to show discrimination on the face of the Louisiana

statutory framework for contempt proceedings. See, e.g., Lewis v. Ascension

Par. Sch. Bd., 72 F. Supp. 3d 648, 662-63 (M.D. La. 2014) (distinguishing

explicit classification from discriminatory application of facially neutral

law); see also Doe v. Lower Merion Sch. Dist., 665 F.3d 524, 543-45 (3d Cir.

2011) (same). Plaintiffs principally rely on James v. Strange, 407 U.S. 128

(1972), where the Supreme Court addressed a Kansas recoupment statute

that allowed the state to “recover in subsequent civil proceedings counsel and

other legal defense fees expended for the benefit of indigent defendants.” Id.

at 128. The statute excluded these indigent defendants from “the array of

protective exemptions Kansas has erected for other civil judgment debtors,”

such as “the exemption of his wages from unrestricted garnishment.” Id. at

135.    The Court struck down the statute as “embod[ying] elements of




181     R. Doc. 251-1 at 53.
                                      77
   Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 78 of 79



punitiveness and discrimination which violate the rights of citizens to equal

treatment under the law.” Id. at 142.

       Plaintiffs argue that defendants’ practice of jailing criminal defendants

is similarly discriminatory. They note that Louisiana has abolished the writ

of capias ad satisfaciendum, which allowed a private creditor to imprison a

debtor until her judgment was satisfied.        See La. Rev. Stat. § 13:4281

(abolishing writ); Capias, Black’s Law Dictionary (defining capias ad

satisfaciendum as “[a] postjudgment writ commanding the sheriff to

imprison the defendant until the judgment is satisfied”). According to

plaintiffs, a private creditor seeking to enforce a judgment against a debtor

may now seek contempt of court. A debtor in that situation has various

procedural protections under Louisiana law. For example, the court must

issue a rule “to show cause why [the debtor] should not be adjudged guilty of

contempt”; this rule to show cause must be served on the debtor at least 48

hours before trial; and if the court finds the debtor guilty, it must issue “an

order reciting the facts constituting the contempt.” La. Code Civ. Proc. art.

225.

       By law, criminal defendants have similar procedural protections in

contempt proceedings: the judge must issue a rule to show cause; this rule

must be served on the criminal defendant at least 48 hours before trial; and


                                       78
      Case 2:15-cv-04479-SSV-JCW Document 279 Filed 12/13/17 Page 79 of 79



if the court finds the defendant guilty, it must issue “an order reciting the

facts constituting the contempt.” La. Code Crim. Proc. art. 24. Thus, the

statutory procedures for contempt proceedings are essentially the same for

both civil and criminal defendants.         Unlike in James, there is no

discrimination on the face of these statutes. Plaintiffs are not entitled

summary judgment on Count Six.



IV.     CONCLUSION

        For the foregoing reasons, the Court GRANTS plaintiffs’ motion for

summary judgment on Count Five. The Court GRANTS defendants’ motion

for summary judgment on Counts One, Two, and Four. The parties’ motions

are otherwise DENIED. Counts One, Two, and Four are DISMISSED AS

MOOT. Administrator Kazik is DISMISSED from this case.



          New Orleans, Louisiana, this _____
                                        13th day of December, 2017.


                       _____________________
                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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